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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                            :
Pablo and Catherine Cafagna,                :
                                              Civil Action No.: ______
                                            :
                    Plaintiffs,             :
      v.                                    :
                                            :
                                              COMPLAINT
Dynamic Recovery Services, Inc.; and        :
DOES 1-10, inclusive,                       :
                                            :
                                              August 8, 2012
                    Defendants.             :
                                            :


      For this Complaint, the Plaintiffs, Pablo and Catherine Cafagna, by

undersigned counsel, state as follows:


                                    JURISDICTION

      1.      This action arises out of Defendants’ repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the

invasions of Plaintiffs’ personal privacy by the Defendants and their agents in

their illegal efforts to collect a consumer debt.

      2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

      3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that the Defendants transact business in this District and a substantial portion of

the acts giving rise to this action occurred in this District.


                                       PARTIES

      4.      The Plaintiffs, Pablo Cafagna (hereafter “Pablo”) and Catherine

Cafagna (hereafter “Catherine,” and together with Pablo, “Plaintiffs”), are adult

individuals residing in Stamford, Connecticut, and are each a “consumer” as the
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term is defined by 15 U.S.C. § 1692a(3).

      5.      Defendant Dynamic Recovery Services, Inc. (“Dynamic”), is a Texas

business entity with an address of 4101 McEwen Rd. Suite 150, Farmers Branch,

Texas 75244, operating as a collection agency, and is a “debt collector” as the

term is defined by 15 U.S.C. § 1692a(6).

      6.      Does 1-10 (the “Collectors”) are individual collectors employed by

Dynamic and whose identities are currently unknown to the Plaintiffs. One or

more of the Collectors may be joined as parties once their identities are disclosed

through discovery.

      7.      Dynamic at all times acted by and through one or more of the

Collectors.


                   ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


      8.      The Plaintiffs allegedly incurred a financial obligation in the

approximate amount of $6,852.24 (the “Debt”) to Wells Fargo (the “Creditor”).

      9.      The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the

definition of a “debt” under 15 U.S.C. § 1692a(5).

      10.     The Debt was purchased, assigned or transferred to Dynamic for

collection, or Dynamic was employed by the Creditor to collect the Debt.

      11.     The Defendants attempted to collect the Debt and, as such, engaged

in “communications” as defined in 15 U.S.C. § 1692a(2).



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   B. Dynamic Engages in Harassment and Abusive Tactics


      12.    On August 3, 2012, Dynamic called Pablo at his place of employment

in an attempt to collect the Debt.

      13.    Dynamic’s representative failed to disclose that the call was placed

by Dynamic and instead stated that he was calling “on behalf of Wells Fargo”.

      14.    Dynamic threatened to garnish Pablo’s wages if he failed to

“resolve” the Debt within 24 hours.

      15.    Dynamic’s threat overshadowed and contradicted Plaintiffs’ right to

dispute the Debt.

      16.    Furthermore, Dynamic contacted Plaintiffs after having been

informed that Plaintiffs had retained services of an attorney.

      17.    In fact, on August 6, 2012, Dynamic left a voice message on Pablo’s

work telephone stating that the call concerned Pablo’s “personal matter” and

instructing him to contact Dynamic.

      18.    Catherine Cafagna, Pablo’s spouse, returned Dynamic’s call and

requested that Dynamic contact Plaintiffs’ attorney.

      19.    In his response, Dynamic’s representative falsely stated that

Plaintiffs’ attorney would not represent Plaintiffs in “this matter”.

      20.    Furthermore, Dynamic asked Catherine why she was working with

Lemberg &Associates, LLC if, in the end, she would be responsible for the

attorney fees.

      21.    Dynamic concluded the conversation with Catherine by telling her to

go to sleep, get a cup of coffee, say a prayer and call Dynamic back within 24


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hours to close [the Debt].


   C. Plaintiffs Suffered Actual Damages


        22.   The Plaintiffs have suffered and continue to suffer actual damages

as a result of the Defendants’ unlawful conduct.

        23.   As a direct consequence of the Defendants’ acts, practices and

conduct, the Plaintiffs suffered and continue to suffer from humiliation, anger,

anxiety, emotional distress, fear, frustration and embarrassment.


                                      COUNT I

               VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

        24.   The Plaintiffs incorporate by reference all of the above paragraphs of

this Complaint as though fully stated herein.

        25.   The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(2) in that

Defendants contacted the Plaintiffs after having knowledge that the Plaintiffs was

represented by an attorney.

        26.   The Defendants’ conduct violated 15 U.S.C. § 1692d in that

Defendants engaged in behavior the natural consequence of which was to

harass, oppress, or abuse the Plaintiffs in connection with the collection of a

debt.

        27.   The Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that

Defendants placed calls to the Plaintiffs without disclosing the identity of the debt

collection agency.

        28.   The Defendants’ conduct violated 15 U.S.C. § 1692e in that


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Defendants used false, deceptive, or misleading representation or means in

connection with the collection of a debt.

      29.     The Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that

Defendants threatened the Plaintiffs with garnishment if the Debt was not paid.

      30.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that

Defendants employed false and deceptive means to collect a debt.

      31.     The Defendants’ conduct violated 15 U.S.C. § 1692e(14) in that

Defendants used a name other than the true name of the debt collection agency.

      32.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that

Defendants’ demand for immediate payment of the Debt overshadowed Plaintiffs’

right to dispute the Debt.

      33.     The Defendants’ conduct violated 15 U.S.C. § 1692g(b) in that

Defendants’ demand of immediate payment overshadowed Plaintiffs’ right to

dispute the Debt.

      34.     The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the FDCPA, including every one of the

above-cited provisions.

      35.     The Plaintiffs are entitled to damages as a result of Defendants'

violations.


                                      COUNT II

     VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT,
                    Conn. Gen. Stat. § 42-110a, et seq.

      36.     The Plaintiffs incorporate by reference all of the above paragraphs of

this Complaint as though fully stated herein.

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      37.     The Defendants are each individually a “person” as defined by Conn.

Gen. Stat. § 42-110a(3).

      38.     The Defendants engaged in unfair and deceptive acts and practices

in the conduct of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).

      39.     The Plaintiffs are entitled to damages as a result of the Defendants’

violations.


                               PRAYER FOR RELIEF

      WHEREFORE, the Plaintiffs pray that judgment be entered against the

Defendants:

                 1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

                    Defendants;

                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                    §1692k(a)(2)(A) against the Defendants;

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15

                    U.S.C. § 1692k(a)(3) against the Defendants;

                 4. Actual damages pursuant to Conn. Gen. Stat. § 42-110g;

                 5. Actual damages from the Defendants for the all damages

                    including emotional distress suffered as a result of the

                    intentional, reckless, and/or negligent FDCPA violations;

                 6. Punitive damages; and

                 7. Such other and further relief as may be just and proper.

                    TRIAL BY JURY DEMANDED ON ALL COUNTS




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Dated: August 8, 2012

                                   Respectfully submitted,

                                   By _/s/ Sergei Lemberg____________

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